       Case 9:20-cv-00119-DWM Document 35 Filed 10/27/20 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION


GAIL SHEPHARD, as personal                          CV 20-119-M-DWM
representative of the Estate of Marlene
Staigmiller,

                     Plaintiff,                             ORDER

vs.

ETHICON, INC., et al.,

                      Defendants.


      The parties having filed a stipulation for dismissal of certain claims,

      IT IS ORDERED that the stipulation (Doc. 34) is ADOPTED. Only the

following claims remain pending in the case:

      Count I: Negligent Design Defect;

      Count V: Strict Liability - Design Defect;

      Count XIV: Gross Negligence -Design;

      Count XVII: Punitive Damages; and

      Count XVIII: Discovery Rule and Tolling.


                                          1
       Case 9:20-cv-00119-DWM Document 35 Filed 10/27/20 Page 2 of 2



     IT IS FURTHER ORDERED that Defendants' motion for partial summary

judgment (Docs. 39, 40, 2:14-cv-28539 (S.D.W.V)) is DENIED as MOOT.

     DATED this U
                     '-
                     day of October, 2020.




                                                olloy, District Judge
                                   United State District Court




                                     2
